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 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

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10   UNITED STATES OF AMERICA,                              CASE NO. 1:22-CR-00232-JLT-SKO
11                                   Plaintiff,             ORDER TO UNSEAL CASE; FILE
                                                            REDACTED COPY OF INDICTMENT
12                        v.
13    JULIO CESAR RECINOS-SORTO,
14                                    Defendant.

15             The United States having applied to this Court for the indictment and arrest warrants in the
16   above-captioned proceedings to remain under seal in order to prevent the destruction of evidence and
17   flight of the target of the investigation, and the arrest warrants with respect to JULIO CESAR
18   RECINOS-SORTO now having been executed and the need for sealing with respect to him having
19   ceased;
20             IT IS ORDERED that the indictment and arrest warrant filed in the above-entitled matter shall
21   be unsealed as to JULIO CESAR RECINOS-SORTO; the United States shall file a copy of the
22   indictment on the public docket that is redacted to conceal the identity of the co-defendants who have
23   not yet been apprehended. The unredacted indictment shall remain sealed.
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25      Nov 18, 2022
26                                                              Stanley A. Boone-United States Magistrate Judge

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